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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION



 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

              Plaintiff,

              v.                                     Civil Action No. 3:20-cv-00882-MGL

SCANA CORPORATION,
DOMINION ENERGY SOUTH
CAROLINA, INC. (f/k/a SOUTH
CAROLINA ELECTRIC & GAS
COMPANY), KEVIN B. MARSH,
and STEPHEN A. BYRNE,

             Defendants.



         ORDER AND FINAL JUDGMENT AS TO DEFENDANTS SCANA
       CORPORATION AND DOMINION ENERGY SOUTH CAROLINA, INC.

       The Securities and Exchange Commission having filed a Complaint and Defendants

SCANA Corporation and Dominion Energy South Carolina, Inc. (f/k/a South Carolina Electric

& Gas Company) (“Defendants”) having entered a general appearance; consented to the Court’s

jurisdiction over Defendants and the subject matter of this action; consented to entry of this

Final Judgment without admitting or denying the allegations of the Complaint (except as to

jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal

from this Final Judgment:

                                                I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants are

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of

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the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule

10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 17(a) of the

Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any

security by the use of any means or instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements

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               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, and DECREED that Defendants

are permanently restrained and enjoined from filing with the Commission any periodic report

pursuant to Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-1,

13a-11, and 13a-13 promulgated thereunder [17 C.F.R. §§ 240.12b-20, 240.13a-1, 240.13a-11,

and 240.13a-13], which contains any untrue statement of material fact, or which omits to state a

material fact necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading, or which fails to comply in any material respect with the

requirements of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and the rules and

regulations thereunder.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or



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participation with Defendants or with anyone described in (a).

                                               IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are jointly and severally liable for disgorgement and prejudgment interest thereon in

the amount of $112.5 million. This amount shall be deemed fully satisfied by the approximately

$117 million paid in satisfaction of claims in Richard Lightsey, et al., v. SCE&G, SCANA, and

the State of South Carolina, No. 2017-CP-25-00335 (S.C. Ct. of Comm. Pleas filed Aug. 14,

2017), and the approximately $192.5 million to be paid in satisfaction of claims in In re SCANA

Corp. Sec. Litig., No. 3:17-CV-2616-MBS (D.S.C. filed Sept. 27, 2017).

                                               V.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

SCANA Corporation shall pay a civil penalty in the amount of $25 million pursuant to Section

21(d) of the Exchange Act [15 U.S.C. §78u(d)] and Section 20(d) of the Securities Act [15

U.S.C. § 77t(d)]. Defendant SCANA Corporation shall satisfy this obligation by paying $25

million to the Securities and Exchange Commission within 30 days after entry of this Final

Judgment.

       Defendant SCANA Corporation may transmit payment electronically to the Commission,

which will provide detailed ACH transfer/Fedwire instructions upon request. Payment may also

be made directly from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant SCANA Corporation may also pay by

certified check, bank cashier’s check, or United States postal money order payable to the

Securities and Exchange Commission, which shall be delivered or mailed to




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       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur
       Boulevard Oklahoma City,
       OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; SCANA Corporation as a defendant in this action; and specifying that payment is

made pursuant to this Final Judgment. Defendant SCANA Corporation shall pay post judgment

interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

       Defendant SCANA Corporation shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this action. By

making this payment, Defendant SCANA Corporation relinquishes all legal and equitable right,

title, and interest in such funds and no part of the funds shall be returned to Defendant SCANA

Corporation.

       The Commission shall hold the civil penalty funds, together with any interest and income

earned thereon (collectively, the “Fund”), pending further order of the Court. The Commission

may propose a plan to distribute the Fund subject to the Court’s approval. Such a plan may

provide that the Fund shall be distributed pursuant to the Fair Fund provisions of Section 308(a)

of the Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction over the administration of

any distribution of the Fund. If the Commission staff determines that the Fund will not be

distributed, the Commission shall send the funds paid pursuant to this Final Judgment to the

United States Treasury.

       Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant SCANA Corporation shall not, in connection with the award of

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compensatory damages in any Related Investor Action, argue that it is entitled to, nor shall it

further benefit by, any offset or reduction of such compensatory damages award by the amount of

any part of Defendant SCANA Corporation’s payment of a civil penalty in this action (“Penalty

Offset”). If the court in any Related Investor Action grants such a Penalty Offset, Defendant

SCANA Corporation shall, within 30 days after entry of a final order granting the Penalty Offset,

notify the Commission’s counsel in this action and pay the amount of the Penalty Offset to the

United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not be

deemed an additional civil penalty and shall not be deemed to change the amount of the civil

penalty imposed in this Judgment. For purposes of this paragraph, a “Related Investor Action”

means a private damages action brought against Defendant SCANA Corporation by or on behalf

of one or more investors based on substantially the same facts as alleged in the Complaint in this

action.

                                                 VI.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth herein, and that

Defendants shall comply with all of the undertakings and agreements set forth therein.

                                                 VII.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

Judgment.




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                                               VIII.

        There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

 Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


                                             s/Mary Geiger Lewis
                                             MARY GEIGER LEWIS
                                             UNITED STATES DISTRICT JUDGE
Columbia, South Carolina
December 3, 2020




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